° Case 3:13-cv-00573-RDM-SF Document1 Filed 02/28/13 Page 1 of 17

in the united states District Court
MIDDLE DISTRICT OF PENNSYLVANIA

REGINALD A. FALICE®
PETITIONER
(TAXPAYER)

V.

united states of America

GRAHAM MULLEN
ROBERT CONRAD
THOMAS WALKER
CLAIRE RAUSCHER
JEAN LAWSON
(Joint/Severe)
RESPONDENT

23-5 P

--> DECLARATORY JUDGMENT

 

 

PRESENTED TO ESTABLISH: THE RIGHTS AND
OTHER LEGAL RELATIONS OF THE PARTIES
WITHOUT PROVIDING FOR OR ORDERING ENFORCEMENT

 

FILED
SCRANTON

FEB 2 8 2013
nl

PER____|_

DEPUTY CLERK

 

c/o Reginald-A.:Falice®, SPC
Box 3000

White Deer, PA 17887

 
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Affidavit in Support
of
Declaratory Judgment

I, REGINALD-ANTHONY FALICE® (Declarant, Taxpayer) depose, assert,
affirm and state all the foregoing declarations as being the
truth and nothing but the truth throughout four corners of [Nlow
document:

- that facts of this pleading are true and correct;
- that facts of this pleading did occur (i.e. happened);

- that faets of this pleading demonstrate violations
of law recognized by the everyday citizen (i.e. public).

The facts of this pleading are clear trespass of
) Ten Commandments of God (f{1i") (at Ninth Commandment)

) Article 1 § 7 cls 1, 2, 3; Article 1 § 8 els 1, 4,
14, 17, 183; Article II and Article III on the u.-s.
Constitution

) including Public Policy (Traditions/Customs);

whereas, failure of RESPONDENTS to specifically perform their

duty to uphold the u.s. Constitution, as sworn, represents treason
and subjects violatior(s) to civil penalties for impairing the
obligations of [clontract(s), and warring against u.s. Constitution.

Material, as presented represent "flagrant," and "glaring," ethical
misconduct by Executive and Judicial Branches of Government.

Because the government's tampering with the administration of

justice in this case involves far more than just injury to Petitioner's
interest, herein, the tampering effects wrongs against the institutions
set up to protect and safeguard the Public-at-large. Thus, a

reason exist to have relations between the parties spelled out

in a fashion which makes economic sense.

Respectfully submitted this Dats day of February, 2013; under
penalty of perjury unto God cary.) and unto united states.

 

{\ '@ see
s/ woe te a ~-_ nm enn HAS (3
Declarant ~~" Date

/11lm

 
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JURISDICTION

This court has jurisdiction via titles 28 usc §§§ 1331,
1343 and 2201; to influde FRCvP 3, 8 and 57.

PARTIES

PETITIONER, REGINALD ANTHONY FALICE®, IS AT BOX 3000,
WHITE DEER, PA 17887.

RESPONDENTS, GRAHAM MULLEN, et als are at united states
District Court, Western District of North Carolina, 401
W. Trade St., Charlotte, NC 28202.

PRELIMINARY STATEMENT

Petitioner (Taxpayer), is not an attorney, seeking all

that liberal treatment as provided by FRCvP 8 to obtain

a Declaratory Judgment; from any court of the united states,
where upon filing of an appropriate pleading may declare

rights and other legal relations, hereto:

1) for the united states of America through its agents
rewriting united states Codes

2) for the united states of America through its agents

legislating united states Codes, while at a court,

3) for the united states of America through its agents

obstructing justice, and

4) for the united states of America through its agents
tampering with evidence, plus, subscribing to false
testimony

during a judicial process; violates protected property
interest belonging to PETITIONER.

 
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yy So. PETITIONER's "Federal Question" ask 'Whether it is
permissible for the Judicial and Executive Branches of

Government to legislate law, under the u.s. Constitution?!

"Federal Question," is inclusive of all principle components
which make legislative acts and functions possible: with
this; the power to make laws and to alter them; a legislative

body's exclusive authority to make, amend and repeal laws.

If courts are permitted to legislate a law(s), during
court proceedings; then that new law(s) would change the

scope on meeting altogether.

Clearly. It would mean that the District Court's sentencing
determination would make use of facts not charged in the
indictment and not found by the jury. Citing Apprendi

v. New Jersey, 530 u.s. 466, 147 L.Ed.2d 435, 120 S.Ct.

2348 (2000).

Circuits, all agree on this wise: The rulemaking power
granted to an administrative agency charged with the
administration of a federal statute is not the power to
make law. Rather, it is the power to adopt regulations
to carry into effect the will of Congress as expressed
by the statute.

Note. "A constructive amendment is a fatal variance because

the indictment is altered 'to change the elements of the offense
charged, such that the defendant is actually convicted of a

crime other than that charged in the indictment.'" u.s. v.
Randall, 171 F.3d 195, 203 (4th Cir. 1999) (quoting u.s. v.
Schnabel, 939 F.2d 197, 203 (4th Cir. 1991)). A constructive
amendment "is error per se, and must be corrected on appeal

even when the defendant did not preserve the issue by objection."
Id.

Rewritting statute is beyond courts purview. Courts can not

intrude on legislative domain, by writing/rewriting statute.

 
 

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Facts, allegations and documents will show that Respondent
(i.e. those in name), subject -- in ajudicial proceeding

or in a course of justice, wilfully and corruptly -

1) upon a lawful oath or in any form allowed by law to
be substituted for an oath, gave false testimony material

to issue or matter of inquiry; or

2) ain any declaration, certificate, verification or statement
under penalty of perjury as permitted under § 1746
of title 28, usC subscribes any false statement material
to issue or matter of inquiry; is guilty of perjury
and shall be punished, as this court may direct. However,
in light of pleading; I am merely seeking a declaration
asto what is the order of court, for deciding cases
of controversy. For example; can a matter be solved
in court where the rule, by requirement of the judge
is that 'he' is allowed to perjure the event at his

choice?

FACT

Whereas, on 7/12/1999, approximately 1:30pm., during a
criminal trial process, at united states District Court

for the western District of North Carolina, Charlotte Division,
401 W. Trade St., Charlotte, NC 28202; Justice Graham C.

Mullen did proceed attorneys, during Judicial Pleading

No. 3:98CR244 in acts to legislate law or rewrite an existing

law in the course of events.

At this time, GRAHAM, recognized the loss of jurisdiction

to hear (i.e. decide) matter in his court.

Because ROBERT CONRAD, III, (unregistered, united states
Attorney, who did not have oath on file, in Charlotte Division
Court, nor at Department of Justice, until after trial

No. 3:98CR244 was over) asserted and notified the court

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(i.e. GRAHAM MULLEN) that the prongs to satisfy the statute
for [I]nterstate violation was not met by the evidence.
Id. Page 402, Line 16 of Exhibit A.

By this time, there is a complete loss of jurisdiction
for GRAHAM MULLEN, to decide pleading in his court. So,
matter should hve ended or been dismissed.

Therefore, to cure this defect in [standing], GRAHAM MULLEN
issues an instruction to write/rewrite legislation so he
can give a decision on evidence crafted by himself! Id.
Page 402, Line 18, through Page 403, Line 5.

The others had “no choice, seemingly. GRAHAM's newly
invented statute was the cure for the lawyers' jurisdictional
defect.

GRAHAM's unregistered, unregulated, unconstitutional, non-
Congressional enactment was given at trial as the argument
(same as controversy) for the attorneys to controvert,

in front of him and the public. This is the same as hoax

or sham. See Page 403, Line 2. GRAHAM, tells the attorneys
", . . that (meaning his statute) gives you the argument."

Then, at Page 403, Line 6; GRAHAM, avers, "So that's how
I'm going to deal with thatu"

At this point; court is proceeding in a manner not recognized
by the constitution, Federal Codes, or’Federal Rules or
Federal Regulations. The prejudice and biasness is very
imminent. No need to express all detail of injury/harm,
hereto, property and property interest. Injury/harm, exist!
No. 3:98CR244, is still ongoing; therefore, its effect

are still, ongoing.

 

 
 

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Now. As identified by the record (No. 3:98CR244); GRAHAM
has to cure defect of missing evidence, by coming up with
at least one of the stipulations required by the Interstate
Statute, that of "harassment." Here. He creates the

event to evince an act of harassment, to allegedly imply,
state or witness to fact that then PETITIONER violated

a non existing court order, to visit his son. GRAHAM,
ereated all this evidence, including the statute for his
event; then, gave his decision on his own devices. Id.

Obstruction of Justice and miscarriage of Justice.

Furthermore, challenged prohibitions of herein enumerated
acts are ripe for review and access to courts under Declaratory
Judgment Act, as permitted on Equal Protection and Commerce

Clause grounds.

Where Judiciary, creates its own legislation, then, is
allowed to issue a decision on that legislation, evidence,
declares said violations an encroachment on the due process
interest belonging to PETITIONER. By the evidence presented
GRAHAM MULLEN had no jurisdiction to rule on No. 3:98CR244.

GRAHAM, admitted their wrong doing on the record. See

at Page 405, Line 3, through line 10. In a summary statement
outlining the "sham-proceedings," as echoed by Assistant
united states Attorney, THOMAS WALKER; GRAHAM speaks to

facts of what they did with legislative events during

pleading and its residual effects surrounding trial matter.
At Line 10, GRAHAM, asserts; "I hate to do that lie every
time, but it's required." This is GRAHAM's own admission,

as to what was going on, and, what is still existing today.

GRAHAM, even speaks for the violation on the statutes

 
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they amended, changed, wrote or rewrote. Just one of

the occurrences appear of record, at Page 405, Line 17.

This occurrence is evident PETITIONER, was not prosecuted

on indictment via Grand Jury, which caused meeting.

Declaratory Judgment, is entered to establish interests

and other legal relations of the parties without providing
for or ordering enforcement. Par for considerations are

the numerous cases which spell out the relation of litigants

in any suit. Pertaining to judge/referee:

- Rewriting statute is not committed to judiciary
939 F.2d 191, u.s. v. Raynor, (4th Cir. 2/8/91)

- Courts can not intrude on legislative domain by rewriting
statute. 643 F.Supp.2d 758, Ostergen v. McDonnell,
(E.d. VA. 2009)

- "Starting point in any case involving the interpretation
of a statute is the statute itself. When, as here, the
language of the statute is clear, the court must enforce

it according to its terms, for rewriting the statute

is not the province of the judiciary." Quoted from
1998 u.s.DIST.LEXIS 15491, Ramdass v. Angelone, (2/26/98,
4th Dist.)

ROBERT CONRAD, III, helped the judge to gloss over

whose province it is to legislate law. See Page 405,
Line 11. He misappropriately recognized policy on
statutes. That the meaning of a statute must, in

the first instance, be sought in the language inwhich
the act is framed, and if that is plain, the sole
function of the courts is to enforce it according

to terms. Lying, can not be enforced to terms, anywhere!

Especially, not in a court.

- Rewriting statute is ill-advised, 2012 u.s.DIST.LEXIS
18445

 
 

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- Changes in statute must come from Congress, not the
eourt, 2009 u.s.DIST.LEXIS 131302

Here relations, involving referee/ judge are wéll defined

and established per policy.

- To assure equal treatment under the law the court
must interpret the law as writtn, particularly in
matters of taxation. In No. 3:98CR24H, the court
did not do this (such as perform as expected).

- 120 Led.2d 379, 505 u.s. 469, 475, 112 S.Ct. 2589,
(1992) It is Congress that has the authority to change

statute, not courts.

- Court must interpret the law in accordance with Congress'

intent. Congress is the ultimate touchstone.

- ~.Court must interpret the law in accordance with Congress’
intent. - « - Congress is the ultimate touchstone.
In 742 F.Supp.2d 827, Moon v. BMW Techs., Ine, (9/27/10
4th Dist.).

Clearly, via other circuits, including the 4th; judges/referees,
are not cloaked with authority to legislate law. The

corporate cloak has been used to perpetuate fraud.

GRAHAM's interventions were not by chance, but, rather
by design to be on the side of the government. GRAHAM's
actions were so prejudicial that any opportunity fora

fair and impartial trial was completely denied.

GRAHAM's acts/actions/statements/words can not be viewed

as comments. Evidence against him is overwhelming.

Jurisprudence, does not respect "following orders" as

a defense to immunize government agents from civil rights

 
 

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liability. Especially, where agents for government were
able to discern, suchas, identify ‘civil rights' violations
they knew their actions violated PETITIONER's constitutional
rights and should not be allowed to hide behind the [cloak]
of institutional loyalty.

RESPONDENTS! actions, herein, are not entitled to absolute
immunity nor qualified immunity as a matter of law:

For their acts were not performances of functions related

to the judicial process. These are extraordinary exceptions
which justifies disregarding the corporate entity and piercing

the veil.

GRAHAM's actions are personal epithets. This makes him
personally liable for using the corporation to perpetrate
fraud or a crime, to commit an injustice, or to gain an
unfair advantage. See where he asserts the pronoun "I."
GRAHAM, then, goes on to lie (perjure) to coverup his

and the other's misdeeds.

In summary. PETITIONER's request for Declaratory Judgment
is coherent and does assert factual allegations which give
rise to a valid basis for relief, which this court has

the authority to grant. For what is requested, the court

ought not refuse order of judgment.

Herein, a 'Federal Question,' has been presented.

29.

FACTUAL ELEMENTS

By pleading; PETITIONER, acknowledge the Declaratory Judgment
Act allows him to obtain a federal court declaration of

his rights under federal statute. Whereas:

(1) Justice MULLEN, during trial, supra, "u.s. v. FALICE®"

induced (i.e. entered) false testimony. His obstruction

 
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to intervene goes beyond, the making of any comment
or the scope of his duty as referee.

Giving false testimony, violated sworn oath:
(a) that the accused took an oath or affirmation in
a certain judicial proceeding or course of justice;
(b) that oath or affirmation was administered to accused
in a matter in which an oath or affirmation was
required or authorized by law;
(c) that oath or affirmation was administered by a
person having authority to do so;
(d) that upon oath or affirmation that accused wilfully
gave certain testimony;
(e) that testimony was material
- it gave Prosecution their argument
- it was not law recognized by Congress
- it should have been verified
- it should have been put before a Grand Jury
- and the same has caused or allowed the exaction
of funds from RAFALICE®, unjustly. Scheme to
use perjury for purpose of tax, violates PETITIONER's
constitutional interest;
(f) that testimony was false
- by the record, Judge MULLEN admits Perjury[]

and
(g) that accused did not then believe testimony to

be true; as he asserts on the record.

(2) Justice MULLEN, during trial supra "u.s. v. FALICE®"
subscribed false statements.

Subscribing false statement did damage PETITIONER's PROPERTY
interest (i.e. trial process); whereto "false" statement

was not included on [I]ndictment Contract:

(a) that accused subscribed a certain statement in

 
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a judicial proceeding or course of justice;

(b) that in declaration, certification, verification,
or statement under penalty of perjury accused declared,
certified, verified, or stated truth of that certain
statement;

(ec) that accused wilfully subscribed statement;
~ adding that he also took [jludicial notice of

false statement - Id. trial record

(d) that statement was material;

(e) that statement was false;
- by the record, Judge MULLEN admits deceptive

practice, for publie affairs

and
(f) that accused did not then believe statement to

be true.

CLAIM

Tax statutes must be construed against the government and
in favor of TAXPAYER. When terms of a statute(s) are clear
its language is conclusive and courts are not empowered

to extend its meaning(s) from/for unenacted legislative
intent(s).

"26 'F.Supp.2d 789, Armstrong v. School Dist. Five, 10/15/98"
A public entity cannot. materially alter, or add to law

in any fashion which circumvents legislation.

Accordingly, any regulation, order or policies which add

to or alter statutes are void.

Property Interest via due process:

Contractual provisions "Good Faith" Clause and "Due Process"

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Clause provide that [No Person], includes PETITIONER; shall
be deprived of life, liberty or property without due process

of law.

Herewithin, united states of America through agents shall
declare, attest and assert that deception of perjury was
wrong and violative of public policy; which allows PETITIONER
lawful right to reclaim all interest in property, free

from any encumbrances from RESPONDENTS.

Impartial Judge

PETITIONER, LIKE OTHERS EXPECT COLD NEUTRALITY FROM TRIAL
JUDGE. When a trial judge is caught lying, his rulings
whatever they may be are void, for lack of impartiality.

Notwithstanding, clean hands doctrine; an under-handed
judge is about as low, as the judicial system can go to

obtain justice.

Therefore Petitioner can obtain Declaratory Judgment stating
that Perjury is wrong and should never be used as a rule,
practice, proeedure or process for judicial proceeding;

and, allows Petitioner's claim in appropriate relief, for
property damages as stated.

RELIEF

Accused did give false testimony wilfully and did not believe
it to be true, which damaged PETITIONER's property and
property interest.

Herein, PETITIONER's request shall be granted, approved

for Declaratory judgment as previously described.

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Petitioner shall receive $9,000.00¢ award from the united
states of America for damages caused by Agents which resulted

in personal injury and property damages.

All statements within the four corners of Now document are submitted

under penalty of perjury unto God Gur » and unto united states.

Respectfully submitted this 95th day of Feburary, 2013.

PETITIONER (TAXPAYER)

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Page 402 7

(1) MR. CONRAD: | only suggest that if you have -

: Page 4(
} THE COURT: Why are they not entitled to ask me to

(2) take judicial notice of what the interstate law is? 4 THE COURT: !'m happy to do that, because - you

3} MR.WALKER: We don't know that the defendant | B) want me to tell them today?

(4) relicd on that or that that was relevant in the defendant's 14) MA. CONRAD: No, no, no.

(3) thinking. nays cae, | (SS) THE COURT: But I would prefer just to move on and

is} THE COURT: It doesn’t matter whether he even knew’. \ 16) if you can't be here, you go. I think we are going to be

(7 that or not. And you have a strong implication from your’ 7 donc with everything today that necds doing except possibly
8} evidence that his intention was to come up here and harass 4 8] the instructions.

19) her, at the feast.

(io) |= MR. WALKER: Uh-huh. cf
(1) THE COURT: I mean, at the very Icast, that’s the ji “pe yet
{12} strong inoplication of your evidence. And if on the other at ae f ?
113) hand he had 2 right to see his child, then that wouldn’ tbe “
(14) harassing her, to come try to see the child, and that's all

 

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‘A

(9, All right, Ict me start with the ones that I have
{oj given to you. And as any of the ones that I am Proposing to
{11} give becomes implicated by one of the ones that you have
(12} requested, Ict’s stop and (cll me. The defense has
i13} mercifully and the government, following the lead of the
14) Court, has not numbered its Pages.

~y
«

‘

(15) I'm trying to get at. ‘Nv wer (1s) MR. CONRAD: We sure didn't, sorry.
x (64, MR. CONRAD: In and of itself, it’s not evidence Fu i TAD i16} = THE COURT: And [ haven't numbered mine, so we will:
ia ee COURT: Because he had the right to do it. If a N71 Bo By Ihe Neacings Introduction, indictanent is onlyan Co
1 : ' ation.
(19 he didn’t have the right to do it, it would be harassment. " i MR. CONRAD: The only thing there -
, x ot I've got a court order saying, stay the heck away; no, I'm fo] ~~ MS. RAUSCHER: You missed a statute number, end of
( ete (21) coming anya: . That’s 0 boom. o ri (24) the first paragraph should be 2261(B)(1), which - Acts
hr} ide t ot _ wudicet noting of tee Cede the netate. vite it . BENE COURT: 2261@X1), Hee on mmocence.
(231 Reasonable doubt. Now, I know you have requested aA
24} out for me, whatever the name of the statute is, Interstate tat the Fou

(24} reasonable = doubt i instriction, and yo you “know what the Fourth !
(2s) Circuit says. ( Mw !

(28) Act on child custody prior to the issuance of the custody
fies WT Oe

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Page 403 - \ XL ‘Page 405

| (ih order, Mr. Falice had the right to come up and try to sce his it] MS. RAUSCHER: This time, I didn't, | actually, wt Att
1>_[2Lson.I'n om not going to say that’s $ not harassment, nothing fa] didn't. UN ‘ me
By} other than'that: Boom, that gives you the argument I think i] THE COURT: Oh, okay. CG an Ok itu

PThepen ae
4] you have an ar gument from the evidence about the purpose of 4) Direct and circumstantial evidence, credibility of cl aun Gt
{5} all of that other stuff that was being written without this. sol sty {81 witnesses, uncontradicted testimony, impeachment,

{6} So that's how I'm going to deal with that. Let's rf wee’ te

{6} inconsistent statements or conduct, the defendant is not
™ start talking about - and I will do that and you can stand 1| 7 compelled to testify, testimony, the statement defendant made

{8} up and rest and we will send the jury out fora couple of , 6} to investigating authorities, not on trial for conduct not |
1e} minutes and we will start in with final argument. found in the indictment, punishment is the province of the soe lif fl,
(10} Now, does anybody have any notion about how long [10] Court. [hate to do that lie eve time, but it's re
'W1t] you are going to want to talk today? 1] MR. CONRAD: It's not their province is what you ,
113] MR. CONRAD: Could I inject a personal thought just [12} are trying to say. bl tn Een ure
{13} in terms of the Court's discretion? My son is going in for A ie

(sa THE COURT: That's right. I'm glad you recognize
(14) jaw surgery tomorrow and I would love to be there when that 14] where that lies.
118} happens, so - but if my job requires me to be here, I will 118} On or about, and read the bill of indictment, Count
{16} be here. {16} One, Count Two. y
(7) THE COURT: What ume is he going in? 117) All right, nowy, the statute violated, I'm going to_ j =
(143 MR. CONRAD: In the morning. He is checking into [18] take out the penal section of that. You do not need the
{19] the University Hospital.

{18} penalty section. I marked that and answered that question
2099 ~=9THE COURT: We were going to be through with the

(29) no.
fy) charge conference and through with arguments, and I'm happy (21) Now, the essential elements, these are the oncs
(24 to tell the jury you are absent in the morning because you

(22 that I - that we have listed and it seems that they are
f23] can’t be there for further deliberations because your son is (23) similar to the government's. I have taken out the notion

(24) having surgery and that you have Icft the government's case (24) that they were or had been intimate partners, because the

(28) in the able hands of Mr. Walker. [25] statute doesn't say anything about had been, and the clement

oon “ef oft .
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COVERING NC, SC, GA & TN 800-333-2082 Min-U-Scripte - * (27) Page 402 - Page 405

 
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CERTIFICATE OF SERVICE

I certify that on ahs/t3 me » L mailed a copy (2)
of this pleading with all attachments:

 

- Affidavit in Support of Declaratory Judgment
- Exhibit A
- Cover Page

to Clerk of Court, in Middle District of Pennsylvania. Furthermore;
asked Clerk to forward a copy to GRAHAM MULLEN, at Charlotte
Division Court in Charlotte, NC 28202; after making them a

copy of the same.

Postage, prepaid.

TAXPAYER, REGINALD A. FALICE®

 
 

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